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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                            )
  In re FTX Trading Ltd., et al.,           )   Chapter 11
                                            )
                          Debtors.          )   Case No. 22-11068 (JTD)
                                            )
                                            )   (Jointly Administered)


                      NOTICE OF WITHDRAWAL OF
         NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

DCP Master Investments XV LLC, by its undersigned counsel, hereby withdraws the following
Notices of Transfer of Claim Other Than for Security, which was filed incorrectly:

Docket Number 21209 (filed July 23, 2024)



Dated: October 1, 2024
                                                    MORGAN, LEWIS & BOCKIUS LLP


                                                    By: /s/ Jody C. Barillare
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